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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


UNITED STATES OF AMERICA

-v-                                                  CASE NO. 6:09-CR-27-ORL-35KRS

PRESTON FULSE
_____________________________________


                                            ORDER

       This case having been considered by the Court on the Report and Recommendation

Concerning Plea of Guilty (Doc. No. 39, filed April 10, 2009) and no objection thereto having been

filed, it is ORDERED:

       1.      The Report and Recommendation of the United States Magistrate Judge (Doc. No.

39) is ACCEPTED, AFFIRMED AND ADOPTED.

       2.      Defendant Preston Fulse has entered a plea of guilty to Counts Eight and Nine of the

Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and Defendant is

adjudicated guilty of Counts Eight and Nine of the Indictment.

       DONE AND ORDERED at Orlando, Florida, this 15th day of April, 2009.




Copies to:
Assistant United States Attorney
Attorney for Defendant
United States Marshal
United States Probation
United States Pretrial Services
